       Case 1:06-cr-00299-LJO Document 82 Filed 09/04/07 Page 1 of 2


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 4
                                UNITED STATES DISTRICT COURT
 5                             EASTERN DISTRICT OF CALIFORNIA

 6
     UNITED STATES OF AMERICA,             )           Case No. 1:06CR 299 AWI
 7                                         )
                       Plaintiff,          )           STIPULATION AND ORDER
 8                                         )           CONTINUING HEARING ON
     v.                                    )           MOTIONS IN LIMINE
 9                                         )
     ANTHONY BLAINE HUNT,                  )
10                                         )
                       Defendant.          )
11                                         )
     _____________________________________ )
12
              The Defendant, ANTHONY BLAINE HUNT, and the Government stipulate as follows:
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              1.    To continue the date for hearing on Motions in Limine from Tuesday, September 4,
14
     2007, to Monday, September 10, 2007;
15
              2.    The Government shall have one additional week from the current due date to file
16
     responses to Defense Motions in Limine.
17

18
     Dated:         August 30, 2007      /s/
19                                       DALE A. BLICKENSTAFF
                                         Attorney for Defendant, ANTHONY BLAINE HUNT
20
     Dated:         August 30, 2007      /s/
21                                       STANLEY A. BOONE
                                         Assistant U. S. Attorney
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     STIPULATION AND ORDER CONTINUING HEARING ON MOTIONS IN LIMINE
     Case No. 1:06CR00299 AWI                                                                  Page 1
       Case 1:06-cr-00299-LJO Document 82 Filed 09/04/07 Page 2 of 2


 1                                              ORDER

 2
            IT IS HEREBY ORDERED that the new date hearing on Motions in Limine for Defendant,
 3
     ANTHONY BLAINE HUNT, only is September 10, 2007. The new due date for the Government’s
 4
     Responses to Defense Motions in Limine is due one week from the current due date.
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 6
     IT IS SO ORDERED.
 7
     Dated:    August 30, 2007                       /s/ Anthony W. Ishii
 8   0m8i78                                    UNITED STATES DISTRICT JUDGE

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     STIPULATION AND ORDER CONTINUING HEARING ON MOTIONS IN LIMINE
     Case No. 1:06CR00299 AWI                                                            Page 2
